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EXHIBIT 6
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UNITED STATES DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION

 

FBI Directorate of Intelligence
1000 Custer Hollow Road
Clarksburg, WV 26306

File Number: 98-SU-2086640
Requesting Official(s) and Office(s): SA Chris O. Andersen (SU)
Task Number(s) and Date Completed: 650695, 2/22/2017
Name and Office of Linguist(s): EMA Victoria Murphy (WVTAC)
Name and Office of Reviewer(s): EMA David Ferrebee (WVTAC)
Source Language(s): English
Target Language: English
Source File Information

Name of Audio File or CD: Device 1 10-27 and_10-28.001.wav

—Date, Time, Duration: 12/20/2016, 02:52:36 pm (Time), 00:00 (Duration)

Device_1_ 10-27 and_10-28.002.wav
12/20/2016, 02:52:37 pm (Time), 00:01 (Duration)
Device 1 10-27 and_10-28.003.wav
12/20/2016, 02:52:39 pm (Time), 36:24 (Duration)
Device 1 10-27 and_10-28.004.wav
12/20/2016, 02:37:39 pm (Time), 15:01 (Duration)
Device_1_ 10-27 and_10-28.005.wav
12/20/2016, 02:52:41 pm (Time), 00:08 (Duration)
Device_1_ 10-27 and_10-28.006.wav
12/20/2016, 02:52:42 pm (Time), 00:06 (Duration)
Device _1 10-27 and_10-28.007.wav
12/20/2016, 02:52:43 pm (Time), 00:06 (Duration)
Device_1_ 10-27 and_10-28.008.wav
12/20/2016, 02:52:44 pm (Time), 00:10 (Duration)

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Device_1_10-27 and_10-28.009.wav
12/20/2016, 2:52:45 pm (Time), 00:01 (Duration)
Device_1_ 10-27 and_10-28.010.wav
12/20/2016, 2:52:46 pm (Time), 00:04 (Duration)
Device 1 10-27 and_10-28.011.wav
12/20/2016, 2:52:47 pm (Time), 00:03 (Duration)
Device _1 10-27 and_10-28.012.wav
12/20/2016, 2:52:49 pm (Time), 47:56 (Duration)

VERBATIM TRANSCRIPTION

Participants:

Stephen McRae SM

Confidential Human Source CHS

Unknown Female 1 UF1

Unknown Female 2 UF2

Unknown Female 3 UF3

Unknown Female 4 UF4

Unknown Female 5 UF5

Unknown Male 1 UM1

Unknown Male 2 UM2
Abbreviations:

[] Translator’s Notes and exegeses

UI Unintelligible

OV Overlapping Voices

PH Phonetic

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SMc 00742 NOC 5
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File Number: 98-SU-2086640

Audio Name: Device_1_ 10-27 _and_10-28.001.wav, Device_1_10-27_and_10-28.002.wav, Device_1_10-
27_and_10-28.003.wav, Device_1_10-27_and_10-28.004.wav, Device_1_10-27_and_10-28.005.wav,
Device_1_10-27_and_10-28.006.wav, Device_1_10-27_and_10-28.007.wav, Device_1_10-27_and_10-
28.008.wav, Device_1_10-27_and_10-28.009.wav, Device_1_10-27_and_10-28.010.wav, Device_1_10-
27 and_10-28.011.wav, Device_1_10-27_and_10-28.012.wav

CHS:

SM:

CHS:

SM:

CHS:

SM:

CHS:

SM:

CHS:

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CHS:

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CHS:

SM:

CHS:

SM:

CHS:

SM:

with the mining and the global warming and the...

Well, it’s all--

[OV] [UI]--

--relative to the ability of the species. I mean, it’s all, you know, it’s just...
--Ah...

1-it’s, the species that’s just what’s--

[OV] --We’re the first to hyper-exploit.

[OV] --all species do. Well, we’re supposed to be more intelligent and-and be a little bit
more--

[laugh]

--a little bit more self-aware. We are individually...

I-I-see, that’s-see--

[OV] For a large part, collectively we’re just a bunch of blind, deaf idiots.

--That--that’s [UI]. That you would destroy the earth through global warming so you

could have a bigger, newer SUV to drive to Wal-Mart. That’s fucking insanity. It’s

insanity. There’s nothing...you can’t call it ignorance or nothing. It’s fucking--you have--
you don’t even have a...y-your brain is so twisted and fucked.

Well, if there was 10,000 Steve McCrae’s out there shooting up...fucking whatevers, you
know...

It would stop.

Uhm...uh, transformers and mines and all that happy horse shit. Then guess what? They-
-yeah, there’d be something going on. There’d be, uh, you know, people would start holy
shit, what the hell’s going on?

If I had--

[OV] --But there’s not.

--If there was ten of me right now...and I had one month...I think I could bring...the
United States to its knees. That’s how easy it is to do. That’s how--it’s

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File Number: 98-SU-2086640

Audio Name: Device_1_10-27_and_10-28.001.wav, Device_1_10-27_and_10-28.002.wav, Device_1_10-
27 and_10-28.003.wav, Device_1_10-27_and_10-28.004.wav, Device_1_10-27_and_10-28.005.wav,
Device_1_10-27_and_10-28.006.wav, Device_1_10-27_and_10-28.007.wav, Device_1_10-27_and_10-
28.008.wav, Device 1 10-27 and_10-28.009.wav, Device_1 10-27 and_10-28.010.wav, Device_1_10-
27 and_10-28.011.wav, Device_1_10-27_and_10-28.012.wav

okay?
SM: Yeah.
CHS: Okay?
SM: Yeah.
CHS: Of government money, tax payer money--
SM: [OV] Oh yeah, [UI]do the prosecution--
CHS: [OV] --Okay--
SM: [OV] --[UI]--
CHS: [OV] --Okay--
SM: [OV] --[UI]--
CHS: [OV] --So then you have a, you have a million dollar transformer...that gets shot.
SM: Yeah.
CHS: Okay?
SM: Yeah.
CHS: So what do they want to do? They want to hang your ass your ass for shooting it--
SM: [OV] Oh, I’d get 20 years minimum. Minimum. And I’m stopping global warming...or

slowing it down. You see, th-th-this works, too. Look. This works, too. I-I [UI]--we got
to quick looking at equ--don’t look at things emotionally. The way you look at it is, is
that the whole infrastructure that handles the burning of coal...needs to be compromised.
So the coal put--‘cause we got to stop it--

CHS: [OV] Look, look here’s the problem--
SM: [OV] --And so, we can’t get emotional [UI]--
CHS: [OV] --Steve, Steve, hear me out. Hear me out. We can emotional, get real passionate.

We can do things--

SM: [OV] --Yeah, but when it comes down--

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SMc 00809 NOC 5
